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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:19-CR-65-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 RONNIE E. ALBERTINI,                                )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 224 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Albertini’s guilty plea and adjudge him

guilty of Count 1 of the Second Superseding Indictment (DE 72). See DE 225 (Recommendation);

see also DE 213-1 (Plea Agreement). Judge Ingram expressly informed Defendant of his right to

object to the recommendation and to secure de novo review from the undersigned. See DE 225 at

3. The established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
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        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 225, ACCEPTS Albertini’s guilty plea, and ADJUDGES

           him guilty of Count 1 of the Second Superseding Indictment (DE 72);

        1. Further, per Judge Ingram’s unopposed recommendation (DE 225 at 2 ¶ 4) and

           Defendant’s agreement (DE 213-1 ¶ 9), the Court provisionally FINDS that Albertini

           has an interest in the property identified in the operative indictment (DE 72 at 5) and

           preliminarily ADJUDGES Defendant’s interest in such property FORFEITED.

           Under Criminal Rule 32.2, and absent pre-judgment objection, “the preliminary

           forfeiture order becomes final as to” Defendant at sentencing. Fed. R. Crim. P.

           32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at (b)(4)(B);

        2. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

        3. The Court will issue a separate sentencing order.1

        This the 21st day of August, 2020.




1
 At the hearing, Judge Ingram remanded Albertini to custody. See DE 224. The Court, thus, sees
no need to further address detention, at this time.
                                                  2
